                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 CARLTON HARRIS,

 Plaintiff,

                                                     Civil Action No.: 18-2390 (ABJ)
     v.

 GOVERNMENT OF THE DISTRICT OF
 COLUMBIA,

 Defendant.

      PLAINTIFF’S CONSENT MOTION TO MODIFY THE SCHEDULING ORDER

          Plaintiff hereby moves this Court to amend the Scheduling Order [19] pursuant to Fed. R.

Civ. P. 16(b)(4) and Local Rule 16.4(b). None of the deadline in the current Scheduling Order

has yet expired. The current deadline for the Close of Fact Discovery set forth in the Scheduling

Order is March 27, 2020.

          Mr. Harris also moves the Court to bifurcate discovery and summary judgment motions on

the “predicate constitutional violation” prong of his Monell claims and his common law claim from

discovery and summary judgment on the municipal prong of his Monell claim, as described below.

                                    Consent Sought and Obtained

          Defendant does consent to the modifications proposed herein.

                                  Mr. Harris’s statement of the case

          This is an over detention case. Mr. Harris sues the Government of the District of

Columbia under Section 1983 and under the District of Columbia common law because, Mr.




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Harris contends, the District’s Department of Corrections held him about 75 days after his Release

Date, that is, the date on which he was entitled to release after serving his sentences at the DC Jail.1

                           Plaintiff’s Proposed Discovery Plan - bifurcation

        To avoid spending the Court’s and the parties’ resources on potentially unnecessary

discovery on his Monell claims, Mr. Harris proposes that the Court bifurcate discovery and

summary judgment motions into two phases between [Phase I] the predicate constitutional

violation (whether Mr. Harris was over-detained) and [Phase II] the Monell claim (whether a

custom or practice of over-detentions caused Mr. Harris’s over-detention). 2

        To prove a claim of false imprisonment, a plaintiff must demonstrate that (1) the detention

or restraint is against one's will within boundaries fixed by the defendant, and (2) the restraint is

unlawful. Smith v. District of Columbia, 306 F. Supp. 3d 223, 260 (D.D.C. 2018); see Jones v.

District of Columbia, 2019 U.S. Dist. LEXIS 126964, *14 (D.D.C. 2019) (one way to commit false

imprisonment is through a "refusal to release;" Restatement (Second) of Torts § 45). Detention is

presumed to be unlawful once a plaintiff alleges that he was imprisoned without process. Smith,

306 F. Supp. 3d at 260.

        Mr. Harris proposes that the parties in the first phase [Phase I] focus discovery on the

predicate constitutional violation and Mr. Harris’s common law false imprisonment claim on such

issues as obtaining (1) Mr. Harris’s institutional file; (2) documents relating to his commitment to

the DC Jail, especially whether the USMS called for Mr. Harris the day after they committed Mr.

        1
          Mr. Harris timely filed a 12-309 notice and he filed his complaint within the one year
statute of limitations. The District adds that it has not conceded these points.
        2
          To establish a Monell claim plaintiff must establish both: (1) a predicate constitutional
violation; and (2) the municipality’s policy was the moving force behind the predicate
constitutional violation. See Baker v. District of Columbia, 326 F.3d 1302, 1306 (D.C. Cir. 2003)
citing Collins v. City of Harker Heights, 503 U.S. 115, 124 (1992).



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Harris to the DC Jail on a “in-transit” warrant and were told that he was being held on local

charges; (3) limited ESI discovery into the TMS system transactions regarding Mr. Harris3 and

JACCS entries relating to Mr. Harris’s commitment and transmission of his commitment orders,

and the cases he was held on, if needed;. During Phase I discovery, Plaintiff will not seek

information about current or former inmates at the D.C. Jail other than Mr. Harris.

       At the conclusion of Phase I, the parties will assess whether they can resolve the case by

settlement or either party can file a motion for partial summary judgment on the predicate

constitutional violation under § 1983 and on his common law false imprisonment claim.4 Jones v.

District of Columbia, 2019 U.S. Dist. LEXIS 126964, *13-19 (D.D.C. 2019)(plaintiff states a

claim for common law false imprisonment in DC Jail merely by alleging that he was held past his

release date without needing to allege a new “seizure”).

       After Phase I the parties can revisit settlement or proceed to Monell discovery and expert

discovery according to a plan to be proposed at that time.

                          Plaintiffs’ proposed revised discovery schedule:

       Fed. R. Civ. P. 42(b) gives a District Court authority to bifurcate issues in an action. In

order to avoid spending a "king's ransom...on discovery that may never be used," this Court could


       3
         The “TMS system” is a transactional database intended to record if and when court
orders issued by Superior Court judges were received by the DOC staff in the “satellite” Records
Office in the Superior Court. JACCS is the DOC’s inmate database management system.
       4
         Rule 56(a) explicitly provides that a party “may move
for summary judgment identifying … the part of each claim or defense … on
which summary judgment is sought.” 11 Moore's Federal Practice - Civil § 56.122 (2019)
(quoting Fed. R. Civ. P. 56(a) (emphasis added)). This language was added to the rule in 2010 to
make clear that summary judgment may be requested not only as to an entire case, or as to a
complete claim or defense, but also as to parts of claims or defenses. Fed. R. Civ. P. 56, advisory
committee note of 2010 (“The first sentence [of subdivision (a)] is added to make clear at the
beginning that summary judgment may be requested … as to … part of a claim or defense.”).


                                                Page 1
limit or bifurcate initial discovery if necessary and feasible. See Smith v. Wash. Post Co., 962 F.

Supp. 2d 79, 91 (D.D.C. 2013) citing In re Rail Freight Fuel Surcharge Antitrust Litig., 258 F.R.D.

167, 176 (D.D.C. 2009) (bifurcating class discovery from merits discovery); Novopharm Ltd. v.

Torpharm, Inc., 181 F.R.D. 308, 310 (E.D.N.C. 1998) (court stayed discovery as to damages and

willfulness after severing those issues from trial of liability issues in patent infringement action).

        Discovery has been limited in the case to date because the parties have been negotiating a

Protective Order to cover this case and three other over detention cases pending in this Court.

        A party may move to extend discovery under Rule 16(b), and Local Rule 16.4(b) allows the

Court to modify a scheduling order at any time when it finds good cause to do so. See LCvR

16.4(b) ("The court may modify the scheduling order at any time upon a showing of good cause.").

The primary factor in determining whether good cause exists is the diligence of the party seeking

discovery before the deadline. United States v. Kellogg Brown & Root Servs., Inc., 285 F.R.D.

133, 136 (D.D.C. 2012).

        Both parties have been diligent in managing discovery.

        Therefore Plaintiff respectfully moves the Court – with the consent of the District – to

enter the following revised Scheduling Order covering the first phase of the case.

                 Event                                     Deadline
                 Phase I fact discovery completion         June 25, 2020
                 Joint status report regarding further     July 27, 2020
                 proceedings (mediation or a partial
                 summary judgment briefing
                 schedule)



                                              Relief Sought

        Therefore, Plaintiffs respectfully ask the Court to enter the following modifications to the

Scheduling Order:


                                                  Page 1
    Bifurcate discovery as outlined above; and

    Enter the attached revised Scheduling Order.

Respectfully submitted,

/s/ William Claiborne
WILLIAM CLAIBORNE
D.C. Bar # 446579

Counsel for Plaintiff

717 D Street, N.W.
#300
Washington, DC 20004
Phone 202/824-0700
Email claibornelaw@gmail.com




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